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            IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
DWIGHT RUSSELL, et al.,         §
             Plaintiffs,        §
                                §
V.                              § CIVIL ACTION NO. 4:19-CV-00226
                                §
HARRIS COUNTY, TEXAS, et al.,   §
             Defendants.        §


                                        ADVISORY


       INTERESTED NON-PARTY HARRIS COUNTY DISTRICT ATTORNEY KIM
OGG provides the following information for the Court’s consideration.

I.     COURT DIRECTIVE
       At a hearing on January 15, 2021, counsel for the Harris County Sheriff represented
to the Court that there were 364 detainees with nonviolent charges and 1,151 detainees with
bonds below $10,000 who were being held solely on those charges. The Sheriff agreed to
forward the names of these individuals to the parties and interested non-parties and District
Attorney Ogg agreed to review these defendants’ cases for possible agreed lower bail
recommendations to the trial court judges. See Docket Entry No. 369.
       Later that day, counsel for the Harris County Sheriff distributed a list of 1543 inmates
and indicated that the list included defendants with holds, contending, “Our hope is that we
can get the [Harris County] case cleared so that the defendant can be released to take care of
the hold.”
       This does not make sense. The inclusion of defendants with holds on this list places
the cart before the horse. Upon information and belief, a defendant cannot be released from
the Harris County Jail until the pending hold has been legally resolved, notwithstanding the



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defendant’s eligibility for release on a pending Harris County case. Otherwise, the hold is
meaningless.1
       The District Attorney therefore respectfully limits her analysis of the Sheriff’s list to
the cases that she agreed to review at the January 15 hearing: i.e., individuals who were being
held solely on the basis of a non-violent charge and whose bail has been set at $10,000 or less.
II.    ANALYSIS
       Of the 1543 defendants on the list sent to the District Attorney by the Harris County
Sheriff, 1148 defendants have an external hold or their pending case is violent. The District
Attorney objects to lowering the bail for any of these individuals’ cases.
       Each of the remaining 395 defendants on the Sheriff’s list were represented on the list
by a single case. The data shows, however, that these 395 defendants collectively have 823
pending cases, many of which have a bond greater than $10,000.            Many of these multiple




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        If counsel is suggesting that the Sheriff will not actually release the defendant with a
pending hold when the defendant makes a bond on the pending Harris County case, but will instead
turn the defendant over to the authority with a legal hold on the defendant with the belief that the
defendant will thereafter return to Harris County as needed for the pending Harris County court
proceeding, this approach also appears to be a non-starter.

        Most holds are incapable of practical resolution before the pending Harris County case is
resolved. For example, turnover of a defendant on a federal immigration hold may result in the
defendant’s deportation and disappearance; turnover on out-of-state extradition holds may provoke
complicated and unnecessary interstate extradition battles; and turnover of defendants for parole
violations cannot be resolved until the underlying criminal case giving rise to the “blue warrant”
has been resolved.

        In short, any hold that can be resolved prior to resolution of the pending Harris County case
should be resolved by the defendant’s counsel while the defendant is in custody in the Harris
County Jail, which would then make that defendant release-eligible on a Harris County bond. But
any hold that cannot be resolved prior to resolution of the pending Harris County case does not
become more resolvable if the defendant is on bond for the Harris County case. The cart must
follow the horse.



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arrestees were on bond when arrested for new offenses.2 As such, the assistant district
attorneys reviewing the cases identified on the Sheriff’s list did not consider the single case
in a vacuum, but instead considered appropriate bail in the context of all of the pending
charges against each defendant.
       Of these 395 defendants:

•      9 of the cases on the Sheriff’s list are already disposed and no longer subject to bond
       review.

•      44 of the cases on the Sheriff’s list are not the basis for the defendant’s custody (e.g.,
       the defendant is bonded out on that case or the defendant has an unexecuted open
       warrant on the case).

•      The State is agreeing to reduction of bond in 12 cases.

•      The State would either agree to or not oppose a personal bond in 48 additional cases.

•      The State has no change in position or other agreement in 282 cases.




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       For example, defendant M.D. (SPN 02697240) appears on the Sheriff’s list with a $5000
bail amount in Cause No. 1652561, accused of having possessed a controlled substance on
November 6, 2019. What is not notated on the Sheriff’s list, however, are M.D.’s other pending
charges:
•      Cause No. 1654226 – November 19, 2019 possession of 200 to 400 grams of a controlled
       substance with intent to deliver. Bail set at $100,000.
•      Cause No. 1652562 – November 6, 2019 possession of controlled substance. Bail set at
       $5,000.
•      Cause No. 1652563 – November 6, 2019 unauthorized use of motor vehicle. Bail set at
       $5,000.
•      Cause No. 1651746 – July 14, 2019 possession of controlled substance. Bail set at $5,000.
•      Cause No. 1643229 – August 16, 2019 theft of motor vehicle. Bail set at $5,000.



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       The following examples illustrate the difficulty of agreeing to lower bail in many of
the cases on the Sheriff’s list:

•      Defendant R.B. (SPN 02898435) appears on the Sheriff’s list as being held in Cause
       No. 2331767 for misdemeanor assault of a family member in lieu of $200 bail, with
       a total of three misdemeanors and no felonies. The list does not reflect, however,
       that on November 10, 2020, while on felony deferred adjudication community
       supervision for burglary of a habitation (a plea deal that included dismissal of a
       companion robbery charge in exchange for the probated sentence), the district court
       judge issued a warrant for R.B.’s violation of probation and a motion to adjudicate.
       On November 24, 2020, R.B. entered, and the Court acknowledged, written waivers
       of any further bail hearings in each of the three pending misdemeanor cases.

•      Defendant G.E-C. (SPN 02921947) appears on the Sheriff’s list under Cause No.
       1568127 for felony theft. The list does not reflect that G.E-C. is also charged in Cause
       No. 1655002 for felony forgery and that he is subject to an immigration hold.
       Additionally, G.E-C. was set for a bond review hearing on December 21, 2020,
       wherein the state district court continued the personal bond in Cause No. 1655002 but
       declined to reduce the $1,500 bond in the pending theft case. Granting a second
       personal bond, or even posting a surety bond on the theft case, would likely cause G.E-
       C. to be released to immigration authorities where he would evade prosecution if
       deported.

•      Defendant B.A. (SPN 01297690) appears on the Sheriff’s list under Cause No.
       2319284 for misdemeanor terroristic threat. However, the list does not reflect that this
       was a violent offense, and more importantly that the county criminal court has
       reviewed this case in several instances in regard to the bond:
       o       July 24, 2020 – personal bond granted.
       o       August 25, 2020 – court issued capias revoking bond.

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        o      September 9, 2020 – court reinstated personal bond.

        o      November 28, 2020 – court received bond condition violation report (based on
               B.A. failing to report and failing to comply with electronic monitoring) and
               ordered his appearance in court.

        o      January 4, 2021 – court received bond condition violation report (based on B.A.
               failing to report and failing to comply with electronic monitoring after
               admonishment from court in December) and court issued a capias revoking and
               raising B.A.’s bond.

III.    CONCLUSION
        For each of the defendants on the agreed reduction of bond or personal bond list, we
will notify the defendant’s counsel and the judiciary and they will expedite the setting of the
recommended bail. For the defendants on the “no change in position” list, we will notify the
defendant’s counsel and the judiciary that we oppose any lowering of bail in that case and the
defense attorney will thereafter, in consultation with his or her client, decide whether to seek
a formal and/or informal bail hearing.
                                                   Respectfully submitted,

                                                   Scott A. Durfee

                                                   SCOTT A. DURFEE
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                              CERTIFICATE OF SERVICE
        I hereby certify that on this 21st day of January, 2021, a true and correct copy of the
foregoing pleading was delivered by electronic notice to counsel for the parties.

                                                   Scott A. Durfee
                                                   Scott A. Durfee


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